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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 WELLEKSON GONCALVES                      *
 SILVA,                                   *
                                          *
              Petitioner,                 *
                                          *
       v.                                 *            1:22-CV-03371-ELR
                                          *
 ADRIENE FERREIRA DOS                     *
 SANTOS,                                  *
                                          *
              Respondent.                 *
                                          *
                                     _________

                                     ORDER
                                     _________

      After holding an evidentiary hearing on February 17, 2023, and for the reasons

the undersigned stated on the record during that hearing, the Court—by an Order

dated February 21, 2023—granted the relief Petitioner Wellekson Goncalves Silva

requested in his “Complaint and Petition for Return of Minor Child Under the

International Child Abduction Remedies Act.” [Doc. 56]. On May 26, 2023, the

U.S. Court of Appeals for the Eleventh Circuit vacated the Court’s February 21, 2023

Order and remanded this case “for further consideration in light of [its] opinion.” See
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Silva v. Dos Santos, 68 F.4th 1247, 1261 (11th Cir. 2023) (per curiam).1 In so doing,

the Eleventh Circuit found that this Court made “two legal errors” in its reasoning

when it Ordered return of the child to Petitioner in Brazil:

       First, given that [Petitioner] testified about the alleged abuse and the
       district court expressly did not believe him, under [Eleventh Circuit]
       precedent, it’s not necessarily the case that [Respondent Adriene
       Ferreira] dos Santos[’] testimony was uncorroborated. And second,
       even without independent corroboration, a factfinder’s belief in a single
       witness’s testimony alone can be sufficient to satisfy a party’s burden to
       prove a fact by clear and convincing evidence.

Id. at 1255.

       With the Eleventh Circuit’s guidance in mind, the Court has again reviewed

and considered the testimony and evidence from the February 17, 2023 evidentiary

hearing, including (1) Petitioner’s testimony, which the Court found to be not

credible, and (2) Respondent’s testimony.              Upon such renewed review and

consideration, the Court again GRANTS the relief requested in Petitioner’s

“Complaint and Petition for Return of Minor Child Under the International Child




1
 The Eleventh Circuit’s opinion is available in the record of this case at docket entry 81. The
mandate from the Eleventh Circuit related to its May 26, 2023 opinion issued on June 26, 2023.
[Doc. 82]. And the undersigned adopted that mandate as the judgment of this Court on June 27,
2023. [Doc. 84].


                                              2
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Abduction Remedies Act.” 2 [Doc. 1]. Accordingly, the Court DIRECTS the Parties

to, within fourteen (14) days of this order, confer and advise the Court of the timeline

for and logistics regarding the return of the Parties’ Child, Y.F.G., to Petitioner in

Brazil and any other matters the Court needs to address to resolve this matter.

       SO ORDERED, this 12th day of July, 2023.




                                                      ______________________
                                                      Eleanor L. Ross
                                                      United States District Judge
                                                      Northern District of Georgia




2
  In arriving at this conclusion, the Court heeds the Eleventh Circuit’s May 26, 2023 opinion. See
Silva, 68 F.4th at 1247–61. In granting Petitioner’s requested relief here, the Court recognizes the
two (2) legal errors discussed in that opinion and is cognizant of the Eleventh Circuit’s instruction
that

       when a factfinder does not believe an interested witness, it may—but is not required
       to—consider that witness’s discredited testimony as corroborating substantive
       evidence that the opposite of the testimony is true. And when a single witness
       provides the only evidence on some point, that testimony, without corroboration,
       can still meet the standard of clear and convincing evidence if the factfinder
       concludes that it is credible.

See Silva, 68 F.4th at 1261.


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